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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

KAYLA WILLIAMS,                                     No. 4:20-CV-00298

             Plaintiff,                             (Judge Brann)

      v.

PENNSYLVANIA STATE
UNIVERSITY, KAREN FELDBAUM
(in her official and individual capacity),
LAUREN LANGFORD, and YVONNE
GAUDELIUS,

             Defendants.

                                      ORDER

      AND NOW, this 4th day of September 2020, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

      1.     Defendants’ Partial Motion to Dismiss Plaintiff’s First Amended

             Complaint, Doc. 22, is GRANTED IN PART AND DENIED IN

             PART.

      2.     Plaintiff’s Counts V and VI are DISMISSED WITH PREJUDICE.

      3.     Defendants’ answer to the surviving claims of Plaintiff’s First

             Amended Complaint is due no later than September 18, 2020.

                                             BY THE COURT:


                                             s/ Matthew W. Brann
                                             Matthew W. Brann
                                             United States District Judge
